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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                           Case No.: 2:05-cr-71-FtM-33DNF

 OTIS MARCHMAN
 _______________________________________
                                    ORDER

        This matter comes before the Court on the Motion to Revoke Bond and Detain Defendant

 (Doc. #970) filed on January 19, 2011. Defense Counsel moves the Court for an Order revoking the

 Defendant’s bond and an Order of detention. As grounds, Counsel indicates the Defendant is

 currently in state custody and remains at the CORE facility at this time. As a result, the Defendant

 is not accruing time on the pending Violation of Supervised Release. Defense Counsel argues that

 he has a duty to zealously explore a resolution to the instant Violation least likely to prejudice a

 resolution of the Defendant’s pending charges in state Court. The Government does not oppose the

 relief requested. Having considered the motion, the Court finds good cause and will grant the relief

 requested. Accordingly, it is now

        ORDERED:

        The Defendant’s Motion to Revoke Bond and Detain Defendant (Doc. #970) is GRANTED.

 The Court finds detention is appropriate pending further proceedings. Therefore, the Defendant’s

 bond is hereby REVOKED, and a detainer shall be placed immediately.

        DONE AND ORDERED at Fort Myers, Florida, this             21st      day of January, 2011.




 Copies: All Parties of Record
